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                                     LINITED STATES DISTRICT COURT
                                         DISTRICT OF MINNESOTA
                                      Criminal No. 21-CR-108 (PAVI/TNL)


       TINITED.STATES OF         AMERICA.                     INT'ORMATION

                                Plaintifi                     18 U.S.C. S 242

              v.

       DEREK       MCIIAEL CIIAITVIN.

                                Defendant.

             TEIE ACTING LINITED STATES ATTORNEY CHARGES                        TIIAT:

                                         GEII-ERAL ALLEGATIONS

      At all times relevant to this Information:

             1.      Defendant Derek Michael Chauvin was employed as a Minneapolis Police

      Deparffnent (i\[PD) officer, and had held that position for more than 16 years.

             2.      Juvenile   1   was aL{-year-old student andresident ofMinneapolis, Minnesota.

             3.      Paragraphs 1 and 2 of this Information are realleged and incorporated into

      Count 1 as though fully set forth therein.


                                               COUNT 1
                                @eprivation ofRights Under Color     oflaw)

             On or about September 4, 20t7, in the State and District of Minnesota, the

      defendant,

                                      DEREK MICHAEL CIIAUVIN,

                                                                                          SCANNED
                                                                                          DEC 1    5   2021

                                                                                     U,S, DISTRICT COURT ST PAUL
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while acting under color of law, willfully deprived Juvenile 1 of the right, secured and

protected by the Constitution and laws ofthe United States, to be free from an unreasonable

seizure, which includes the right to be free from the use of unreasonable force by a police

officer. Specifically, Defendant Chauvin, without legal justification, held Juvenile   1 by

the throat and struck Juvenile 1 multiple times in the head with a flashlight. This offense

included the use of a dangerous weapon-a flashlight-and resulted in bodily injury to

Juvenile   1.


      All in violation of Title   18, United States Code, Section242.



Dated: December 15. 202I

CIIARLES J. KOVATS, IR.                             KRISTEN CLARKE
Acting United States Attorney                       Assistant Attorney General
                                                    Civil Rights Division
                                                    U.S. Deparhnent of Justice



 s/ Allen Slaughter                                  s/Samantha Trepel
BY: ALLEN SLAUGHTER                                 BY: SAMANT}IA       TREPEL
Assistant United States Attorney                    Special Litigation Counsel
Afforney ID No. 301668                              Attorney ID No. 992377 DC
